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                                   MINUTE ORDER


   CASE NUMBER:             CIVIL NO. 11-00144 LEK-BMK
   CASE NAME:               Richard Kapela Davis, et al. vs. CoreCivic, et al.


         JUDGE:      Leslie E. Kobayashi            DATE:             02/24/2023


  COURT ACTION: EO: COURT ORDER REGARDING LAEL SAMONTE’S
  LETTER, DATED FEBRUARY 17, 2023, [FILED 2/21/23 (DKT. NO. 877)]

         The Court is in receipt of a letter from Lael Samonte (“Samonte”), dated
  February 17, 2023 (“Letter”). [Letter, filed 2/21/23 (dkt. no. 877).] Samonte is not a
  named plaintiff in this case but, based upon his representations in the Letter, he appears to
  be asserting that he was one of the class members. See generally Letter, Declaration.

          The Letter has been electronically served on counsel for all parties in this case.
  Plaintiffs’ counsel is DIRECTED to assess whether any further action should be taken on
  Samonte’s letter. The Court will take no action on the Letter unless Plaintiffs’ counsel
  files the appropriate motion. The Clerk’s Office is DIRECTED to send Samonte a copy
  of this entering order with a file-stamped version of the Letter.

         IT IS SO ORDERED.

  Submitted by: Tammy Kimura, Courtroom Manager
